     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 1 of 18 Page ID #:1



1    TRACY L. WILKISON
     Acting United States Attorney
2    SCOTT M. GARRINGER
     Assistant United States Attorney
3    Chief, Criminal Division
     STEVEN R. WELK
4    Assistant United States Attorney
     Chief, Asset Forfeiture Section
5    DAN G. BOYLE (Cal. Bar No. 332518)
     Assistant United States Attorney
6    Asset Forfeiture Section
          1400 United States Courthouse
7         312 North Spring Street
          Los Angeles, California 90012
8         Telephone: (213) 894-2426
          Facsimile: (213) 894-0142
9         E-mail:   Daniel.Boyle2@usdoj.gov
10
     Attorneys for Plaintiff
11   UNITED STATES OF AMERICA

12

13                            UNITED STATES DISTRICT COURT

14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

15                                  SOUTHERN DIVISION
     UNITED STATES OF AMERICA,                NO. 8:21-cv-1255
16
                Plaintiff,                    VERIFIED COMPLAINT FOR FORFEITURE
17
                      v.                      18 U.S.C. § 981 (a)(1)(A) and 21
18                                            U.S.C. § 881(a)(6)
     $383,960.00 IN U.S. CURRENCY,
19                                            [H.S.I. and I.R.S.]
     $218,937.33 IN FUNDS SEIZED FROM
20   BANK OF AMERICA ACCOUNT NUMBER
     ENDING ‘5501, AND $129,437.94 IN
21   FUNDS SEIZED FROM BANK OF
     AMERICA ACCOUNT NUMBER ENDING
22   ‘9165,
23              Defendants.
24

25

26         The United States of America brings this claim against the

27   defendants identified below, and alleges as follows:

28
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 2 of 18 Page ID #:2



1                                JURISDICTION AND VENUE

2          1.    This is a civil forfeiture action brought pursuant to 18

3    U.S.C. § 981(a)(1)(A) and 21 U.S.C. § 881(a)(6).

4          2.    This Court has jurisdiction over the matter under 28 U.S.C.

5    §§ 1345 and 1355.

6          3.    Venue lies in this District pursuant to 28 U.S.C.

7    § 1395(a).

8                                 PERSONS AND ENTITIES
9          4.    The plaintiff is the United States of America (“plaintiff”

10   or the “government”).

11         5.    The defendants (hereinafter the “Defendant Assets”) are:

12               a.    $383,960.00 in U.S. Currency, seized by California

13   Highway Patrol (“CHP”) officers on November 9, 2021, during a vehicle

14   search of Ian Silva (“Silva”);

15               b.    $218,937.33 in funds seized from Bank of America

16   account number ending ‘5501 (the “’5501 Account”), held in the name

17   of Ocean View Accounting, Inc.; and

18               c.    $129,437.94 in funds seized from Bank of America

19   account number ending ‘9165 (the “9165 Account”), held in the name of

20   Long Beach Auto Detail.

21         6.    The Defendant Assets are currently in the custody of the

22   Internal Revenue Service, or the United States Marshals Service in

23   this District, where they shall remain subject to this Court’s

24   jurisdiction pending this action.

25         7.    The interests of Silva and John Goldberg (“Goldberg”), may

26   be adversely affected by these proceedings.

27

28

                                             2
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 3 of 18 Page ID #:3



1                           EVIDENCE SUPPORTING FORFEITURE

2                                       Background

3          8.    Marijuana is legal, but regulated, in the State of

4    California. Marijuana remains a federally-controlled drug pursuant to

5    Schedule I of the Controlled Substances Act.

6          9.    Because marijuana remain illegal federally, both legal and

7    illegal marijuana dispensaries in California primarily transact in

8    cash, rather than through direct or electronic banking transactions.

9    Because transactions for marijuana in California (both legal and
10   illegal) occur primarily in cash, marijuana dispensaries often have
11   automated teller machines (“ATMs”) present in the dispensaries for
12   customers to obtain cash for their marijuana transactions.
13         10.   ATMs generally allow users to receive cash rapidly in
14   exchange for a corresponding debit to the user’s bank account,
15   without requiring the user to physically visit their bank for the
16   transaction. Specifically, a user enters their banking information
17   and requested amount of cash, and the ATM electronically contacts an
18   ATM exchange network, which queries the user’s bank to assess the

19   user’s available funds. Should sufficient funds be available

20   according to the user’s bank, the ATM dispenses cash to the user and

21   arranges an electronic settlement of the corresponding amount to an

22   account designated by the ATM’s operator. ATMs often charge a fee for

23   these transactions in addition to the value of cash dispensed, which

24   makes the transaction profitable for the ATM operator. For this

25   reason, a $100 withdrawal from an ATM may be associated with a $103

26   debit to the user’s associated bank account.

27         11.   Because ATMs dispense cash, but often do not accept

28   deposits of cash, they require a regular supply of new cash to

                                             3
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 4 of 18 Page ID #:4



1    operate. In addition, ATMs typically require cash in small

2    denominations (or example, $20 bills), because users will often want

3    to withdraw amount less than $100 or which are not multiples of $100.

4          12.   Many ATMs are associated with banks or other financial

5    institutions and derive cash for their operations from those same

6    entities (“Bank-Owned ATMs”). Not all ATMs are owned or controlled by

7    financial institutions, however, and some privately-owned ATMs are

8    operated by non-banks (“Private ATMs”). These Private ATMs require a

9    steady stream of currency to operate, but unlike Bank-Owned ATMs,
10   they lack the cash reserves of a bank or financial institution to
11   draw on.
12         13.   Because Private ATMs require a constant supply of cash, and
13   because they functionally exchange cash for electronic funds, Private
14   ATMs are a popular mechanism for laundering the proceeds of crime,
15   and specifically, the proceeds of narcotics trafficking.
16         14.   Criminal organizations which operate primarily in cash will
17   stock Private ATMs with tainted cash, including narcotics proceeds,
18   which unwitting users convert into debits from their banks accounts,

19   which can then be paid into bank accounts identified by the criminal

20   organization, sometimes in the names of third parties, and with no

21   visible connection to drug trafficking.

22         15.   The Federal Financial Institutions Examination Council

23   (“FFIEC”), a formal interagency body empowered to prescribe uniform

24   principles, standards, and reports on federal examination of

25   financial institutions for financial regulators including the Board

26   of Governors of the Federal Reserve System and the Office of the

27   Comptroller of the Currency, has recognized that “Privately owned

28   ATMs are particularly susceptible to money laundering and fraud” and

                                             4
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 5 of 18 Page ID #:5



1    that “[m]oney laundering can occur through privately owned ATMs when

2    an ATM is replenished with illicit currency that is subsequently

3    withdrawn by legitimate customers. This process results in ACH

4    deposits to the [ATM operator’s] account that appear as legitimate

5    business transactions. Consequently, all three phases of money

6    laundering (placement, layering, and integration) can occur

7    simultaneously.”

8                   Silva And Goldberg’s Money Laundering Scheme

9          16.   Silva and Dianne Evans (“Evans”) operate a network of 30-40
10   Private ATMs in the Southern California area under the business name
11   Money Man ATMs. Silva’s Private ATMs are primarily located in
12   marijuana dispensaries, including marijuana dispensaries which are
13   unlicensed and illegal under California law (and virtually all
14   marijuana dispensaries remain illegal under federal law).
15         17.   To support the operation of his Private ATMs, Silva
16   required a regular supply of cash, which he was unable to obtain from
17   banks. To obtain this cash to operate his Private ATMs, Silva entered
18   an agreement to receive large quantities of cash from Goldberg, which

19   Silva would return to Goldberg electronically, after the cash had

20   been exchanged for account debits through ATM exchanges.

21         18.   Goldberg is a Long Beach, California based tax preparer.

22         19.   To facilitate this arrangement, in or about October of

23   2020, Silva began linking his Private ATMs directly to Goldberg’s

24   bank accounts, including the ‘9165 Account. Silva would also transfer

25   funds from the ‘9165 Account to the ‘5501 Account. As a result,

26   Goldberg’s account would directly receive funds associated with

27   withdrawals from Silva’s ATMs, where were in turn stocked with cash

28   provided by Goldberg.

                                             5
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 6 of 18 Page ID #:6



1          20.    Both Goldberg and Silva knew that the cash Goldberg

2    provided to Silva to stock the Private ATMs was sourced from illegal

3    narcotics sales, including from the sale of marijuana. In addition,

4    both Goldberg and Silva knew that the cash Goldberg provided to Silva

5    to stock the Private ATMs was intended to be used primarily to

6    facilitate sales at marijuana dispensaries.

7          Silva and Goldberg Discussed the Scheme on Intercepted Calls

8          21.    On or about November 9, 2020, the Hon. Fernando M. Olguin

9    authorized the interception of communications and geolocation data
10   for phone number ending ‘0827 (the “Intercepted Phone”), believed to
11   be used by Silva, until December 1, 2020.
12         22.    On or about November 9, 2020, at 9:28 a.m., agents
13   intercepted an audio phone call between Silva, using the Intercepted
14   Phone, and phone number ending 2870, believed to be used by Goldberg.
15   The following is an excerpt of that conversation:
16         SILVA:      Hey, how much do you have? I just want to make sure I
17                     have the proper stuff. Like, if you have like, more
18                     than two hundred ($200,000) 1.

19         GOLDBERG: I do.

20         SILVA:      Like are we talking four hundred ($400,000)

21         GOLDBERG: Um! I believe it was three eight three ($383,000) to

22                     be exact. I think I have… somehow, remember writing

23                     that before I for the weekend. Um, but good news bad

24                     news for you… um, I want to say one fifty ($150,000)

25                     is one hundred ($100 bill denomination).

26

27

28         1   Interpreted coded language is included in parentheticals.
                                           6
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 7 of 18 Page ID #:7



1          SILVA:       That’s fine, cause I have like, uh, like, forty

2                       ($40,000) in large bills so that helps me to go see

3                       that guy and he gives me a little bit more.

4          GOLDBERG: Okay. So, actually in terms of it’ll fit, you know?

5                       Two hundred ($200,000) of its twenties and then like,

6                       one fifty ($150,000) is hundreds.

7          SILVA:       Okay. Um, I’ll probably be at your office around one

8                       (1:00), twelve (12:00), one (1:00). Is that cool?

9          23.     On November 9, 2020, at 4:53 p.m., agents intercepted an
10   audio phone call between Silva, using the Intercepted Phone and phone
11   number ending 0914, believed to be used by witness B.D.
12   Additionally, the call appears to be on speaker with Evans
13   interjecting into the conversation.         The following is an excerpt of
14   that conversation:
15         SILVA:       Yeah, I knew it too. It was all bad. I was like, “Dude
16                      I have all this fucking money.” It was all bad.
17         B.D.:       Put that shit in your fucking trunk, dog.
18         SILVA:       They would’ve got it anyways, bro’. [BACKGROUND:

19                      EVANS: Yeah, but the small part probably smelled.]

20                      Dude, that two– two hundred and– t– two hundred

21                      thousand ($200,000) of it was from the growers. In

22                      their bags. [BACKGROUND: EVANS: So it smells just like

23                      weed.]

24         B.D.:       For sure.

25         SILVA:       [BACKGROUND: EVANS: Strong weed.] And that’s why the

26                      dogs were going crazy, bro’.

27         24.     On November 9, 2020, at 11:55 a.m., agents intercepted an

28   audio phone call between Silva, using the Intercepted Phone and his

                                             7
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 8 of 18 Page ID #:8



1    brother, D. Silva, using phone number ending 6969. The following is

2    an excerpt of that conversation:

3           Ian SILVA:      Well, I checked Meta Bank, I checked one account

4                           today and I checked my Met– Meta Bank account

5                           which I have like all dad’s fucking shit going

6                           through and I got, I got deposits today… and

7                           Diane didn’t say anything. Yeah, Diane hasn’t

8                           said anything. I’m–I’m sure she already checked

9                           the books. So, yeah, because like, uh… I got this
10                          really thing going on with my CPA. I hooked up
11                          like twenty of my ATMs right to his bank account.
12          D. SILVA:       That’s right. [talking over Ian SILVA]
13          D. SILVA:       Okay
14          Ian SILVA:      So, instead of us writing checks back and forth,
15                          he, uh, he just gives me money. Like I’m abou–
16                          I’m gonna pick up like four hundred thousand
17                          ($400,000) right now, and throughout the week he
18                          is just going to get shut down with the ACH’s and

19                          uh… Yeah, like because, like she told me today,

20                          Diane was like “Yeah, our balance is down to

21                          sixty-eight thousand ($68,000).” And we were up

22                          to like, I think like three hundred thousand

23                          ($300,000) when we went into Friday. So, I’m sure

24                          we got– he got the deposits. So.

25          D. SILVA:       Okay, okay. Is there a reason why you do it

26                          through him? Like, he, he just never gets

27                          shutdown or what?

28

                                             8
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 9 of 18 Page ID #:9



1           Ian SILVA:      Well, he has Bank of America, John…is unreal what

2                           the amount of money that he can get. Um… I’ve

3                           doing this… It’s the CPA I’ve been talking to you

4                           about, and like the thing is like, his accounts

5                           are getting shutdown too when I write checks.

6                           Because…

7           D. SILVA:       Okay. [talking over Ian SILVA]

8           D. SILVA:       Mm

9           [call ended]
10         25.   On November 9, 2020, at 12:02 p.m., agents intercepted an
11   audio phone call between Silva, using the Intercepted Phone and D.
12   Silva, using phone number ending 6969, which continued the above
13   audio conversation.
14          Ian SILVA:      …but, what were we talking about?
15          D. SILVA:       oh, the banks…
16          Ian SILVA:      Bro, this world that I live in, like it’s unreal
17                          there is always like cash all over, I just gotta
18                          hit up my friends. The people I met over the

19                          years. Like, and I’ve been hit up today, like

20                          I’ve been hit up twice to go get money. Like him,

21                          he is like, “I’m sitting on all this freaking

22                          money, you are gonna come and get it or what?”

23                          [LAUGHS] You know? And then…

24          D. SILVA:       And so, look the way he, the way he gets the

25                          money, it’s like your accounts deposit into his

26                          account, right?

27          Ian SILVA:      Correct. But we have like… Yeah, we have a legal

28                          agreement, that’s stating that, any money coming

                                             9
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 10 of 18 Page ID #:10



1                            from these terminal ID’s or anything like that is

2                            mine and any profits that are made from this,

3                            this thing is mine. It’s Ian Silva’s or SID

4                            group, IDS, whatever, whatever… …the fuck Diane

5                            made up [U/I]. SID.

6            D. SILVA:       Yeah, yeah, yeah. [talking over Ian SILVA]

7            D. SILVA:       What, so, how– what’s in it for him? What, you

8                            know is he getting a little piece out of this or

9                            what?
10           Ian SILVA:      Yeah, he still gets the half percent (½) I give
11                           him.
12           D. SILVA:       Oh, Okay.
13           Ian SILVA:      But it’s like, uh, the longevity now. Now, like…
14                           Dude, his accounts are so season. I look– I was
15                           looking at his accounts like because his are
16                           connected to Merrill Lynch and everything. He has
17                           like two million ($2,000,000) dollars in his
18                           Merrill Lynch like, um, stock trade and then he

19                           has like another million ($1,000,000) in his 401K

20                           and then he has… Dude– dude is wealthy. He’s had

21                           his account forever, like Bank of America. Over

22                           ten years. So nothing’s gonna happen and he has

23                           tons of money going in and out of these accounts,

24                           bro. So instead of him getting his shit shut down

25                           and our shit shut down, ‘cause we just lot

26                           another account. We are losing another account on

27                           the twentieth.

28           D. SILVA:       Okay. Bank account?

                                              10
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 11 of 18 Page ID #:11



1            Ian SILVA:      … I’ve known John for two years, this is like–

2                            this is like one of Fuzzie’s really good friends.

3                            [BACKGROUND: SIRENS] Like they’re really good

4                            friends and it took a lot of for me to get like,

5                            you know, this way with him. And this idea just

6                            popped up like two months ago, bro. ‘Cause like,

7                            he was getting sick of his accounts getting shut

8                            down. Like I– I kinda screwed him, I’m not gonna

9                            lie. There was an account that he had that was
10                           paying him like… like two (2%) percent.
11           D. SILVA:       Okay.
12           Ian SILVA:      On– on savings and dude, he had like two million
13                           ($2,000,000) dollars in it. And because of like
14                           the in and out, in and out checks it just– it– it
15                           screwed him…
16           Ian SILVA:      The– the problem that I have is, is that I don’t
17                           have like a set schedule of how much money is
18                           gonna come through. What I get from Comerica and

19                           from my Meta Bank is already taken. Like I need

20                           more from those account. Like I– I need more. I’m

21                           going to– The Meta Bank is going into a week that

22                           they’re gonna be closed all next week.

23           D. SILVA:       What the (expletive)?

24           Ian SILVA:      And… I am on the week that… I don’t need money

25                           this week but I need money next week. So I’m

26                           fucking screwed. So I’m like trying to scramble

27                           and figure out for next week the hundred and

28                           twenty thousand (120,000) that…that I need. Like

                                              11
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 12 of 18 Page ID #:12



1                            I’m going through like seven-hundred (700),

2                            eight-hundred (800) a week. So, like, ugh! I

3                            don’t know, bro. Like, I don’t know where I can

4                            help you, like I don’t know if I have room to do

5                            it. Because there’s some… Like– like right now

6                            I’m cool. Because it’s the first (1st) of the

7                            month. It’s right around the first (1st) of the

8                            month. They have a lot of things going on. People

9                            make rent payments, deposit; whatever. I– I– I
10                           can’t promise you that, bro. Like, that’s… We’re
11                           tight. Like we’re very tight.
12        Officers Discover the Defendant Currency During a Stop of Silva

13          26.   At approximately 11:00 a.m. on November 9, 2020, law

14    enforcement established surveillance at Goldberg’s office.            At

15    approximately 12:15 p.m., a white BMW M2 with heavily tinted windows

16    parked in the parking lot. The driver remained inside the car.

17    Record checks on the BMW’s license plate number indicated that Silva

18    had recently purchased the BMW.

19          27.   At approximately 12:30 p.m., agents observed Silva get out

20    of the BMW carrying a black backpack, which appeared empty and light.

21    Silva entered Goldberg’s office.        Moments later, Goldberg’s vehicle

22    parked in the parking lot.       At approximately 12:32 p.m., Goldberg got

23    out of his vehicle carrying a small white box and entered Goldberg’s

24    office.

25          28.   At approximately 12:53 p.m., Silva exited Goldberg’s office

26    wearing the black backpack, which now appeared full.           Silva was

27    carrying a brown grocery bag and a white box.          He got into the white

28    BMW M2 and drove away.

                                              12
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 13 of 18 Page ID #:13



1           29.   At approximately 1:02 p.m., Orange County Sheriff’s

2     Department officers conducted a traffic stop on Silva’s BMW on the

3     Pacific Coast Highway in Huntington Beach.         A narcotics detection dog

4     alerted to the odor of narcotics emanating from Silva’s BMW.

5     Pursuant to the alert, officers opened the passenger side door and

6     found a Ralph’s grocery bag and a white box on the passenger seat.

7     The Ralph’s bag contained several bundles of what appeared to be $20

8     bills grouped in white wrapping paper labeled “$2000.”           The white box

9     contained several $100 bills wrapped in rubber bands.
10          30.   Silva was read his Miranda rights and agreed to speak to
11    the officers. Silva stated that he had an ATM business, with some of
12    the ATMs located at “marijuana shops.” Silva was not arrested and was
13    released.
14     Silva Admits to Investigators that his Private ATMs facilitate Sales

15                         at Unlawful Marijuana Dispensaries

16          31.   On or about March 9, 2021, Silva was interviewed by

17    investigators and disclosed the following information, in substance:

18                a.    Silva stated that he is the owner of approximately 30-

19    40 ATMs that he operates under the business name Money Man ATMs.

20    Silva stated that he had been working in the ATM industry for eight

21    years and had been the owner of his ATM business for the past five

22    years.

23                b.    Silva stated that his ATMs are in both legal and

24    illegal/unlicensed marijuana dispensaries, as well as gas stations

25    and tacos shops.

26                c.    Silva stated that he had known Goldberg for three-to-

27    four years. Silva stated that in approximately 2017 or 2018, he

28    confided in Goldberg that he was afraid he was going to lose his ATM

                                              13
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 14 of 18 Page ID #:14



1     business because banks were constantly closing his bank accounts.

2     Silva stated that Goldberg offered to lend Silva cash to use in his

3     ATMs. Silva stated at the time, Goldberg told him that he had a lot

4     of tax clients that paid him in cash and that he would exchange this

5     cash for checks from Silva.

6                 d.    Silva stated he became aware that the money Goldberg

7     was providing him was coming from marijuana transactions based on the

8     strong odor of marijuana and how the money was bagged and packaged.

9                 e.    Silva stated that he believed Goldberg was charging
10    his clients “points on the back end” to get their cash from marijuana
11    transactions into the financial system.
12                f.    Silva stated he linked his ATMs directly to Goldberg’s
13    Bank of America accounts because paying Goldberg in checks was
14    getting Goldberg’s accounts closed, and Silva, Evans and Goldberg
15    believed that if Silva‘s ATMs were linked directly to Goldberg’s bank
16    accounts it would arouse less suspicion from the banks. Silva
17    clarified that Goldberg has nothing to do with his business other
18    than providing money for his ATMs and Goldberg does not own a

19    percentage of the company or any of the ATMs.

20                g.    Silva stated that when he gets large denomination

21    bills from Goldberg that he cannot use in his ATMs, he exchanges them

22    for smaller denomination bills from others in the narcotics industry,

23    including a man he knows as “Tyler.”

24                h.    Silva stated that Tyler is the manager for

25    approximately 10-12 unlicensed/illegal marijuana dispensaries and

26    that Silva has his ATMs in many of Tyler’s unlicensed dispensaries.

27    Silva stated he routinely exchanges $30,000-$40,000 in large bills

28    for $20 denominations at Tyler’s office in Santa Ana, CA. Silva

                                              14
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 15 of 18 Page ID #:15



1     stated that Tyler has been in this location for approximately two

2     years and that he uses it as a base of operations for his unlicensed

3     dispensary network.

4                 i.    Silva also stated that after his accounts at Bank of

5     America were closed, he asked his employee, B.D., to open a business

6     checking account at Bank of America for Silva’s use. Silva stated

7     that B.D. agreed to open the accounts for him.

8                 j.    Silva affirmed that B.D. does not have control or

9     access to the Bank of America account. Silva also affirmed that he
10    linked the ATM’s that are located at unlicensed marijuana
11    dispensaries to the bank account B.D. opened for him.
12                            The ‘5501 and ‘9165 Accounts

13          32.   In or about November of 2012, the ‘5501 Account was opened

14    in the name of Ocean View Accounting, Inc., with Goldberg as the sole

15    signatory.

16          33.   According to California Secretary of State records,

17    Goldberg is the Chief Executive Officer of Ocean View Accounting,

18    Inc., a corporation registered with the State of California that is

19    described as a “law and accounting” business.

20          34.   The ‘9165 Account is held in the name of Long Beach Auto
21    Detail Inc., with an address in Long Beach, CA, with Goldberg as the

22    identified account holder.

23          35.   The ‘9165 Account received numerous deposits linked to the
24    ATMs owned by Silva. At least $6,869,450.00 was deposited from

25    Silva’s Private ATMs into ‘9165 Account, from the period of

26    approximately September of 2020 through February of 2021

27          36.   Beginning in or about October of 2020 and continuing

28    through November of 2020, approximately $2,812,541.07 was transferred

                                              15
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 16 of 18 Page ID #:16



1     from the ‘9165 Account to the ‘5501 Account.          The beginning balance

2     in Bank of America ‘5501 Account on October 1, 2020 was $12,901.36.

3     During this period, total deposits from all sources into the ‘5501

4     Account was $3,660,505.61.       Therefore, the transfers from the ‘9165

5     Account represent approximately 77% of the total deposits into the

6     ‘5501 Account.

7                                 FIRST CLAIM FOR RELIEF

8           37.   Based on the foregoing, the government alleges that the

9     Defendant Assets are subject to forfeiture pursuant to 21 U.S.C.
10    § 881(a)(6) because the Defendant Assets were furnished or intended
11    to be furnished in one or more exchanges for a controlled substance
12    or listed chemical, represent or are traceable to proceeds of illegal
13    narcotics trafficking, or were used or intended to be used to
14    facilitate one or more exchanges of a controlled substance or listed
15    chemical, in violation of 21 U.S.C. § 841 et seq.
16                               SECOND CLAIM FOR RELIEF
17          38.   Based on the foregoing, the government alleges that the

18    Defendant Assets constitute property involved in multiple

19    transactions or attempted transactions in violation of 18 U.S.C.

20    § 1956(a)(1)(B) (Concealment Money Laundering), or property traceable

21    to such property, with the specified unlawful activity being

22    violations of 21 U.S.C. § 841.       The Defendant Assets are therefore

23    subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).

24    //

25    //

26    //

27

28

                                              16
     Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 17 of 18 Page ID #:17



1           WHEREFORE, plaintiff United States of America prays:

2           (a)   that due process issue to enforce the forfeiture of the

3     Defendant Assets;

4           (b)   that due notice be given to all interested parties to

5     appear and show cause why forfeiture should not be decreed;

6           (c)   that this Court decree forfeiture of the Defendant Assets

7     to the United States of America for disposition according to law; and

8           (d)   for such other and further relief as this Court may deem

9     just and proper, together with the costs and disbursements of this
10    action.
11     Dated: July 26, 2021                 TRACY L. WILKISON
                                            Acting United States Attorney
12                                          SCOTT M. GARRINGER
                                            Assistant United States Attorney
13                                          Chief, Criminal Division
                                            STEVEN R. WELK
14                                          Assistant United States Attorney
                                            Chief, Asset Forfeiture Section
15

16                                            /s/
                                            DAN G. BOYLE
17                                          Assistant United States Attorney

18                                          Attorneys for Plaintiff
                                            UNITED STATES OF AMERICA
19

20

21

22

23

24

25

26

27

28

                                              17
Case 8:21-cv-01255-CJC-ADS Document 1 Filed 07/26/21 Page 18 of 18 Page ID #:18
